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                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL LEAGUE
PLAYERS’ CONCUSSION INJURY                     MDL No. 2323
LITIGATION


                                               Hon. Anita B. Brody
Kevin Turner and Shawn Wooden, on behalf
of themselves and others similarly situated,
                                               Civ. Action No. 14-00029-AB
Plaintiffs,

v.

National Football League and NFL
Properties LLC, successor-in-interest to NFL
Properties, Inc.,

Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


[PROPOSED] ORDER GRANTING PETITION OF OBJECTORS PRESTON AND
KATHERINE JONES FOR AWARD OF ATTORNEYS' FEES FOR SUCCESSFUL
EFFORTS TO IMPROVE THE SETTLEMENT FOR NFL EUROPE LEAGUE PLAYERS
      Case 2:12-md-02323-AB Document 7364-10 Filed 03/27/17 Page 2 of 2




                                          ORDER

       AND NOW, this _______ day of __________________, 2017, after consideration of the

Petition of Objectors Preston and Katherine Jones for Award of Attorneys' Fees for Successful

Efforts to Improve the Settlement for NFL Europe League Players, it is ORDERED that:

       1. The Petition is GRANTED.

       2. The law firm of Capretz & Associates, as counsel for Objectors Preston Jones and

Katherine Jones, is awarded attorneys’ fees in the amount of ______________________, to be

paid from the Attorneys’ Fees Qualified Settlement Fund in accordance with Sections 21.1 and

21.2 of the Settlement Agreement approved by the Court on April 22, 2015.



                                                  ____________________________________
                                                  ANITA B. BRODY, J.


Copies VIA ECF on ________ to:                           Copies MAILED on _______ to:




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